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13

14   UNITED STATES OF AMERICA,               No. CR 23-98-GW

15             Plaintiff,                    GOVERNMENT’S SENTENCING POSITION
                                             FOR DEFENDANT JAIME TRAN
16                   v.
                                             Hearing Date: August 5, 2024
17   JAIME TRAN,                             Hearing Time: 8:00 a.m.
                                             Location:     Courtroom of the
18             Defendant.                                  Hon. George Wu
19

20        Plaintiff United States of America, by and through its counsel
21   of record, the United States Attorney for the Central District of
22   California and Assistant United States Attorneys Kathrynne Seiden and
23   Frances S. Lewis, hereby files its Sentencing Position for Defendant
24   Jaime Tran.
25   //
26   //
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 1        This sentencing position is based upon the attached memorandum

 2   of points and authorities, the declaration of Kathrynne Seiden

 3   attached hereto, the files and records in this case, and such further

 4   evidence and argument as the Court may permit.

 5   Dated: July 30, 2024                 Respectfully submitted,

 6                                        E. MARTIN ESTRADA
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10                                              /s/
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 1                      MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.   INTRODUCTION

 3        Executing on his sinister plan to “kill all jews,” defendant

 4   Jaime Tran attempted to murder two strangers leaving religious

 5   services on consecutive days in 2023, terrorizing a community and

 6   forever altering the lives of his victims and their families.

 7   Following a years-long campaign of stalking and threatening Jewish

 8   classmates and acquaintances, defendant targeted his victims based on

 9   nothing but his perception of their race and religion.          And but for

10   the swift action of law enforcement, defendant would have continued

11   his hate-fueled rampage and likely killed other innocent civilians.

12        For defendant’s abhorrent crimes, a federal grand jury returned

13   an indictment charging him with two hate crimes, in violation of 18

14   U.S.C. §§ 249(a)(1)(A), (B)(ii), and two counts of discharging a

15   firearm during a crime of violence, in violation of 18 U.S.C.

16   § 924(c)(1)(A)(iii).     (Dkts. 52, 54.)     Defendant pled guilty to those

17   crimes pursuant to a Rule 11(c)(1)(C) agreement, which, once

18   accepted, requires the Court to impose a sentence of imprisonment

19   between 35 and 40 years.     For the reasons stated herein, a 40-year

20   sentence is imperative.

21        Defendant’s conduct was not an isolated bout of mental illness,

22   but a premeditated plan following years of vile antisemitic rhetoric

23   and escalating threats.     His preparation included researching Jewish

24   communities and the deliberate out-of-state straw purchase of

25   firearms in cash to avoid detection by law enforcement.           Defendant is

26   a self-described “ticking time bomb” whose racism and hate will

27   explode upon other innocent communities absent a significant

28   custodial sentence.     Accordingly, a sentence of 480 months’
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 1   imprisonment -- the maximum permitted by the plea agreement -- is

 2   necessary to protect the public, ensure deterrence, and send a

 3   powerful message to would-be copycats that attempted murder borne of

 4   prejudice will not stand.

 5   II.   STATEMENT OF FACTS

 6         A.   Defendant Has a Long History of Making Antisemitic Threats

 7              1.     Defendant Engaged in Threatening Conduct and Made

 8                     Racist Remarks Toward Jewish Classmates

 9         For many years now, defendant has espoused his antisemitic

10   beliefs and made violent threats towards individuals who actually

11   were, and whom defendant perceived to be, Jewish.          (Dkt. 52 (Plea

12   Agreement) ¶ 16; Presentence Investigation Report (“PSR”) ¶ 18.)              At

13   points, defendant used Instagram and Twitter accounts with the

14   handles “@k1llalljews.”     (PSR at 3.)

15         In 2018, defendant began to complain to his parents that a

16   Jewish classmate in his graduate program had bullied him and stated

17   that he hated the student.      (PSR ¶ 92.)    In February, defendant was

18   reported to school security for yelling on the phone and throwing a

19   chair on its side.    (Declaration of Kathrynne Seiden (“Seiden

20   Decl.”), Ex. 1.)    That same month, defendant told a school crisis

21   counselor, whom he had called several times, that Persians are “an

22   evil race” and “God shouldn’t have made them.”         (Seiden Decl., Ex. 2

23   at USAO_00000274.)    The school’s police department performed a

24   welfare check, during which defendant said he had no intention of

25   harming anyone.    (Id.)   However, defendant admitted he wanted to hurt

26   the females in his class he believed to be bullying him.           (Id.)      The

27   classmates he accused of bullying him were later interviewed and all

28   reported having little to no contact with defendant.          (Id.)

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 1        In April 2018, two of defendant’s classmates reported defendant

 2   for additional concerning behavior, including staring at other

 3   students, sometimes pushing and touching other students, and making

 4   threatening, racist comments on Snapchat.        (Id. at USAO_00000276.)

 5   Both students expressed fear that defendant would be “the next active

 6   shooter.”   (Id.)   In the course of investigating the reports, the

 7   school’s police department reviewed screen shots of defendant’s

 8   Snapchat, including one that said “Fucking little Jew boy.           Fucking

 9   little white bitch.     Fucking little immigrant jap backstab bitch.

10   They gon take me back to my old ways.”        (PSR ¶ 18; Seiden Decl., Ex.

11   2 at USAO_00000278; Ex. 3.)      In another series of screen shots of

12   text messages from defendant, he listed his grievances against named

13   students in his class.     (Seiden Decl., Ex. 2 at USAO_00000278.)            In

14   yet another, he described himself as a “ticking time bomb.”            (Id.)

15        Later in April, three more students came to the school’s police
16   department to express similar concerns about defendant.           (Id.)   The
17   students said earlier that day, defendant had gotten up during class,
18   walked out a side door, and then reentered the room from a back door,
19   walking slowly to the front of the class.        (Id.)   The students felt

20   he was practicing for a school shooting and some students left class

21   because they were so concerned.       (Id.)   The school’s police

22   department learned that multiple students had complained about

23   defendant’s “escalating” behavior, including posting racist comments

24   online and bumping into and pushing other students.          (Id. at

25   USAO_00000279.)     Defendant told the campus officials who had been

26   trying to work with him that he was no longer interested in attending

27   therapy sessions.    (Id.)

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 1           Based on the foregoing, in April 2018, the campus police

 2   assessed defendant to be a danger to himself and others and took him

 3   to a hospital where he was involuntarily detained for 72 hours

 4   pursuant to California Welfare and Institutions Code § 5150, which

 5   prohibited him from possessing firearms for a five-year period.               (PSR

 6   ¶ 94; Seiden Decl., Ex. 4 at USAO_00000007; Ex. 2 at USAO_00000280.)

 7   Commenting on his situation, defendant said, “I don’t know why I’m

 8   here.    I guess I made some inappropriate comments on social media.

 9   Racial slurs.”    (Seiden Decl., Ex. 5 at USAO_00016405.)         However,

10   defendant also claimed to be victimized by his classmates, insisted

11   that he did not need treatment, claimed his classmates were jealous

12   of him, and noted that the school should be protective of him as a

13   “top student.”    (Id. at USAO_00016412.)

14           Defendant’s involuntary stay at the hospital continued through
15   early May 2018 because defendant was assessed again as a danger.
16   Defendant was therefore held for two additional weeks under
17   California Welfare and Institutions Code § 5250, which banned him
18   from firearm possession for life.       (PSR ¶ 94; Seiden Decl., Ex. 4 at
19   USAO_00000006.)    Defendant then took a medical leave of absence from

20   the school, from which he did not return.        (PSR ¶ 95.)    Even after

21   being advised not to contact other students, defendant continued to

22   do so.    (Seiden Decl., Ex. 6.)

23           In August 2019, defendant was once again assessed to be a danger

24   to himself and others and was placed on another 72-hour detention

25   under California Welfare and Institutions Code § 5150.          (PSR ¶ 97;

26   Seiden Decl., Ex. 4 at USAO_00000005.)        Defendant refused compliance

27   with medication, continued to blame others for lying about him, and

28   was then detained again under California Welfare and Institutions

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 1   Code § 5250.    (Id.; PSR ¶ 97.)    At the end of 2019, defendant

 2   declined to continue mental health treatment and would lash out at

 3   his family when they asked whether he was taking his medication,

 4   sometimes punching the walls in his room.        (PSR ¶ 99.)     Defendant

 5   stopped coming home altogether around December 2021.           (Id.)

 6        In February 2022, defendant emailed his former school seeking to

 7   be refunded his tuition from the time he was enrolled in school.

 8   (PSR ¶ 100.)    When told that he had already been refunded part of his

 9   tuition and would not be receiving any additional refund, defendant

10   complained that he had to take years of prerequisite courses, attend

11   hours of volunteer services, study and submit fees related to

12   admissions exams, and “pay ridiculously high tuition fees,” and thus

13   “wasted years of [his] life . . . just to get harassed by some

14   Persian students[.]”     (Id.)

15              2.    Defendant Was Arrested With a Firearm
16        In May 2022, defendant posted a picture of a gun on Instagram:
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     (Seiden Decl., Ex. 7 at USAO_00000170.)
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 1          Shortly thereafter, in July 2022, defendant was arrested by a

 2   different university police department for possessing a loaded

 3   firearm on the university’s campus.          (PSR ¶ 101.)   Specifically,

 4   defendant was sitting on campus holding a semiautomatic handgun with

 5   a high-capacity magazine loaded with nine bullets.          (Seiden Decl.,

 6   Ex. 8 at USAO_00000455.)      Defendant told campus police that he was

 7   carrying the gun to protect himself and to “hurt some animals.”             (Id.

 8   at USAO_00000454; PSR ¶ 101.)       He also said that he had purchased the

 9   gun in Texas for around $600 or $700 because it was easier to buy the

10   gun in Texas.    (Id.)   About a week later, at defendant’s request,

11   defendant’s mother bailed him out of jail.         (PSR ¶ 101.)    He left
12   home again soon afterwards.      (Id.)    Defendant’s family did not hear
13   from him again until several weeks before the shooting, when he
14   contacted his family to get a spare key for his car, came to pick it
15   up, and left again.      (Id.)
16          Defendant was arrested again in December 2022 in Taylor,
17   Michigan for a traffic offense under Michigan State Code § 5400 (Hit
18   and Run).   (PSR ¶ 81.)
19               3.   Defendant Made Repeated Violent Threats to a Former

20                    Classmate

21          Between August 2022 and December 2022, defendant’s antisemitic

22   and violent statements escalated.        For example, beginning around

23   August 2022, defendant repeatedly called and texted a former

24   classmate with a cascade of hateful vitriol.         Those messages

25   included:

26         “Fucking Jew. Piece of shit Jew. FUCK YOU JEW.         JEWBAG JEWBAGEL
            JEW.”
27
           “FUCK YOU PIECE OF LITERAL FUCKING SHIT JEW. YOU FUCKING
28          DIPSHIT. I HATE YOU LIKE FUCKING CRAZY YOU FUCKING STUPID
                                              6
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 1           PATHETIC LOSER SUBHUMAN TRASH UGLY DISGUSTING WORTHLESS
             SENSELESS JEW.”
 2
            “Someone is going to kill you, Jew. Someone is going to kill
 3           you, Jew. Someone is going to kill you, Jew. Someone is going
             to kill you, Jew.”
 4
            “FUCK YOU JEW. Just kill yourself tonight you fucking Jew.             I
 5           want you dead, Jew. Someone is going to kill you, Jew.”
 6          “Kill yourself now you Jew.”

 7          “Cut off your dick and bleed to death you fucking Jew.”

 8          “Fuck you, you fucking retarded faggot Jew.”
            “Fucking bitch Jew. Your mom is a slutty whore, your sister is
 9           a man, and your dad sucks dicks for a living. Burn in an oven
10           chamber you bitch Jew. [Photo of gas chambers].”
            “Straight up fucking kill yourself you fucking faggot.”
11
            “Fucking faggot Jew that sucks dick for a living.        You’re
12           literally worthless.”
13
     (Plea Agreement ¶ 16; PSR ¶ 19; Seiden Decl., Ex. 7 at USAO_00000171-
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     174.)
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 1        On or around November 25, 2022, defendant emailed approximately

 2   two dozen of his former classmates claiming “[t]hat Persian/Iranian

 3   Jew of the Class of 2020 got his people to make up a fake, bs disease

 4   (COVID) and based it on the anesthesia incident that I had with [two

 5   students].”    He attached a flyer containing antisemitic propaganda

 6   including the statement: “EVERY SINGLE ASPECT OF THE COVID AGENDA IS

 7   JEWISH.”   (Plea Agreement ¶ 16; PSR ¶ 20; Seiden Decl., Ex. 7 at

 8   USAO_00000180-81.)     The flyer

 9   listed various officials

10   associated with the Center for

11   Disease Control (CDC), scientists

12   with Pfizer and Moderna (the

13   companies responsible for the

14   then-existing Covid vaccines), and

15   executives at various investment

16   firms, designating each one of

17   them as “JEWISH.”     (Id.)1

18        Around the same time, defendant emailed dozens of his former
19   classmates excerpts from a website describing “Persian Jews” as

20   “primitive,” “narrow minded,” and having “thick skulls.”           (Plea

21   Agreement ¶ 16; PSR ¶ 21.)

22        As a result of this conduct, in November 2022, police conducted

23   a welfare check at the home of defendant’s parents.          (PSR ¶ 102.)

24   Police learned that defendant had not resided at the home in a year,

25

26        1 Approximately five months earlier, copies of the same flyer,
     which was associated with the Goyim Defense League, a network of
27   antisemitic provocateurs, had been distributed to various homes in
     Beverly Hills and Westwood near the campus of defendant’s school.
28   (See https://beverlyhillscourier.com/2022/04/23/antisemitic-flyers-
     found-on-first-night-of-passover/ (last accessed June 19, 2024).)
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 1   had not contacted his family in six months, and had not taken his

 2   medication when he was living at home.        (Id.)

 3        B.    Defendant Prepared to and Attempted to Kill Two Jewish Men

 4              1.    Defendant Traveled to Phoenix the Month Before the

 5                    Shooting to Straw Purchase Two Firearms

 6        As a result of his previous mental health holds, as of 2023,

 7   defendant was prohibited from purchasing or possessing firearms.

 8   (Plea Agreement ¶ 16; PSR ¶¶ 22-23, 103.)         Knowing that he would not

 9   easily be able to obtain a gun in California, defendant went to

10   Phoenix, Arizona for help acquiring the weapons he needed to carry

11   out his plans to eradicate Jewish people.         In January 2023, defendant

12   asked Eric Celaya, someone he met through a moving job on Craiglist,

13   to buy two firearms for him.       (Plea Agreement ¶ 16; PSR ¶ 23; see

14   also United States v. Eric Celaya, 2:23-CR-01456 (D. Ariz.), Dkt. 1
15   (Indictment); Dkt. 12 (Govt. Memo. Opposing Pretrial Release) at 3;
16   Seiden Decl., Ex. 18.)      Defendant selected the specific firearms he
17   wanted and paid approximately $1,500 in cash to Celaya to purchase
18   two firearms on his behalf: (1) a Kahr Arms, .380 caliber pistol,
19   bearing serial number CAA1387; and (2) a Zastava, model M70, semi-

20   automatic rifle, bearing serial number Z70-144818.          (Plea Agreement

21   ¶ 16; PSR ¶ 23; Celaya, Dkt. 12 at 3.)        Defendant then met up with

22   Celaya near the store to collect the firearms.          (Seiden Decl., Ex. 9;

23   Celaya, Dkt. 12 at 3.)2

24        When defendant’s phone was later searched, the FBI recovered

25

26
          2 Celaya pled guilty to making a material false statement during
27   the purchase of a firearm in violation of 18 U.S.C. §§ 922(a)(6) and
     924(a)(2) and admitted in his factual basis that he acquired both of
28   the firearms for Jaime Tran. (Celaya, Dkt. 25 (Plea Agreement) at
     7.) His sentencing is set for September 23, 2024.
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 1   numerous messages from defendant inquiring about guns and ammunition

 2   for sale, including messages asking about obtaining ghost guns,

 3   postings on Craigslist looking to buy or trade firearms, and messages

 4   asking others to make firearm purchases for him in other states.

 5   (Seiden Decl., Ex. 9.)      Defendant conveyed to multiple individuals

 6   that he was unable to legally purchase firearms himself and offered

 7   to pay more if no background check was performed.          (Id.)

 8              2.    Defendant Shot Victim 1 as He Left Religious Services

 9        Having made the necessary preparations, on the morning of

10   February 15, 2023, in Los Angeles, California, defendant set in

11   motion his long-contemplated plan to “kill all jews.”           First, he used

12   the internet to research locations with a “kosher market,” believing

13   that would lead him to Jewish people.        Defendant then drove to the

14   Pico-Robertson neighborhood of Los Angeles, a neighborhood with a

15   high concentration of Jewish residents, shops, temples, and

16   synagogues, and drove around the neighborhood slowly.           Defendant saw

17   his first victim (“Victim 1”), who was wearing a yarmulke and a

18   prayer shawl.    Victim 1 identifies as Jewish and was leaving

19   religious services at the time.       Victim 1 noticed defendant sitting

20   in his car down the street and thought he was waiting for Victim 1’s

21   parking spot, but later realized the car was stalking him.            Defendant

22   did not say anything to Victim 1.       (Plea Agreement ¶ 16; PSR ¶¶ 10-

23   12, 38, 42.)

24        As Victim 1 opened the door to his own car, defendant fired two

25   shots at Victim 1 at close range, trying to kill him.           One of the

26   bullets struck Victim 1, causing an entrance wound on his right torso

27   and an exit wound on his right lower back, just centimeters from his

28   spine.   Defendant then fled the scene in his car.         Victim 1 was

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 1   treated for a gunshot wound and trauma to the lumbar spine.            (Plea

 2   Agreement ¶ 16; PSR ¶ 13.)

 3        To this day, Victim 1 experiences ongoing pain in his back from

 4   being shot.      He thinks about being shot throughout the day, every

 5   day, experiencing a range of emotions from anger to sadness.            He does

 6   not have the same level of excitement about life as he did before he

 7   was shot.   Although he is grateful to be alive, Victim 1’s anger has

 8   morphed into ambivalence because he feels he lives in a country where

 9   wrongdoers are not punished.       He has considered leaving the United

10   States, where he does not feel welcome as a Jewish person.            (Seiden

11   Decl., Ex. 12.)

12               3.     The Following Day, Defendant Shot Victim 2 as He Left

13                      Religious Services
14        The following morning, February 16, 2023, defendant returned to
15   the Pico-Robertson area of Los Angeles to continue his plan to hunt
16   and kill Jews.     Defendant saw Victim 2, who also identifies as Jewish
17   and was wearing a yarmulke, as Victim 2 was leaving religious
18   services and walking to the home of a friend with whom he was
19   staying.    As Victim 2 crossed the street, defendant stopped his car

20   in front of Victim 2 and studied him.        As Victim 2 moved away,

21   defendant fired three shots at Victim 2 at close range, hoping to

22   kill him.   Because Victim 2 moved to the side as defendant shot at

23   him, two of the bullets missed.       The third bullet struck Victim 2 in

24   the arm.    Once again, defendant fled the scene.        (Plea Agreement

25   ¶ 16; PSR ¶ 14.)

26        Victim 2 experiences ongoing trauma from being shot.           In his

27   letter to the Court, Victim 2 describes the moment of the attack as

28   he was leaving his synagogue.       (Seiden Decl., Ex. 13.)      He remembers

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 1   that he “sensed something suspicious” when he saw defendant staring

 2   at him in a hood and a mask and he “instinctively moved aside --

 3   fortunately this reflect gesture saved my life!”            (Id.)    He has

 4   “reliv[ed] this scene over and over again” for several months after

 5   the attack, “traumatized by replaying every second, every movement of

 6   the approaching car, the person staring at me” while “I was wearing

 7   my yarmulke.”    (Id.)   Even today, he experiences “visions or rather

 8   fears when I am on the street, crossing a street, or when a vehicle

 9   slows doing in front of or near me.”         (Id.)     He is grateful that

10   defendant was arrested and hopes defendant “won’t harm anyone else
11   for a very long time.”      (Id.)
12        C.    Defendant Was Arrested After Firing his Firearms in Public
13          Later on February 16, 2023, police responded to a report about
14   a man who had fired a gun behind a motel and found defendant standing
15   near his car with the driver’s door open.            (PSR ¶ 17.)    Officers
16   found a loaded Zastava Arms AK-47 rifle -- an illegal assault weapon
17   under California law and the same firearm defendant had illegally
18   acquired through a straw purchaser in Arizona -- laying on the
19   driver’s seat with the safety selector in

20   the “fire” position.     (Id.; Seiden Decl.,

21   Ex. 14.)   Officers also found a loaded Kahr

22   Arms semiautomatic handgun matching the

23   second gun defendant illegally acquired in

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 1   Arizona on the front passenger seat and a shell casing matching the

 2   ammunition in the assault rifle on the ground nearby.           (PSR ¶ 17.)

 3   Defendant later told law enforcement that he had been practicing with

 4   his weapon at the time of his arrest.        (Id.)

 5        D.     Defendant’s Digital Devices Revealed Further Evidence of

 6               His Hatred

 7        Defendant’s phone, seized upon his arrest, further revealed the

 8   extent of his obsession with killing Jewish victims.           Just three days

 9   before the shootings, he sent a message to a group of anonymous

10   participants on Discord, stating: “it’s time to kill all Jews.”            His

11   cell phone contained numerous other horrific threats against Jews:

12            “I hope you burn in an oven and melt you fucking Jewbag
13             Jewbagel Jew”;

14            “kill all Iranian Jews,” “fucking Jew,” “nuke Israel,” “die
15             Jew”;

16            “fucking kill yourself Jew,” “fuck you Jew,” “Jewbag,”
17             “Jewbagel,” “piece of shit Jew”;

18            “slit your throat you autistic Jew,” “die bitch Jew,” “stupid
19             gay bitch queer Jew”;

20            “fucking ruined the Earth you fucking Jew”;
21            “I want you dead, Jew,” “someone is going to kill you, Jew”;
22            “hahaha your country is burning you fucking Jew,” “fuck your
23             whole country Jew”;

24            “cut your dick off and bleed to death you fucking Jew”;
25            “go die in a gas chamber you Jew”;
26            “should’ve been completely genocided in the Holocaust,”
27            “fucking retarded faggot Jew,”
28            “burn in hell you fucking Jew,”
                                             13
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 1              “I hate you like fucking crazy you fucking stupid pathetic
 2               loser subhuman trash ugly disgusting worthless senseless

 3               Jew”;

 4              “die you fucking faggot queer gay loser piece of shit Iranian
 5               Jew.    Know one Likes you or your entire kind.    Go fucking

 6               kill yourself you worthless subhuman life form”;

 7              “Quit talking about COVID-19 on your Twitter account you
 8               evil, ugly slutty, Jew,” “Biggest bulshitting Jew ever,” etc.

 9   (Seiden Decl., Ex. 10.)

10           Defendant’s phone also contained numerous messages in which he

11   threatened various people that he would kill them or bully them and

12   suggesting that they kill themselves.         The phone also contained

13   hundreds of photographs depicting images of firearms, including

14   attachments and ammunition, and antisemitic and racist pictures and

15   rhetoric, including Hitler, Swastikas, and photos from the holocaust.

16   (Id.)

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 8        The browser history on defendant’s phone similarly revealed both

 9   his obsessive antisemitism and his efforts to commit targeted

10   violence against Jews, including search phrases such as “Jews evil,”

11   “how to identify a Jew,” and searches about Jews being responsible

12   for COVID.    The browser history also revealed defendant’s searches

13   for firearms dealers, straw purchases, firearm shipping to different

14   states, and mass shootings and massacres.         (Id.)

15        Defendant also had two laptops.         Like that on defendant’s phone,

16   the browser history on the laptops revealed searches for handguns and

17   ammunition, rifles for sale, terms like “Jewish hate,” “Persian

18   hate,” “Persian Jew,” and “I hate Persian guys,” and research on

19   various mass shootings, including the Sandy Hook shooting.            The

20   laptops also contained a saved document titled “weapon_9mmhandgun”

21   and a downloaded copy of the book “Confessions of a Sociopath.”

22   (Seiden Decl., Ex. 11.)

23   III. GUIDELINES AND PROBATION RECOMMENDATION

24        A.      Sentencing Guidelines

25        The statutory maximum sentence for each of the four counts in

26   the indictment is lifetime imprisonment, a five-year period of

27   supervised release, and a fine of $250,000 or twice the gross gain or

28   gross loss, whichever is greatest.        There is no statutory mandatory

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 1   minimum for the hate crime counts.        However, there is a 10-year

 2   statutory mandatory minimum for each conviction for discharging a

 3   firearm during and in relation to a crime of violence.           Each of those

 4   terms must run consecutively to any other term of imprisonment.

 5   Thus, defendant’s statutory mandatory minimum sentence is 20 years’

 6   imprisonment.

 7        The parties have no agreement as to the Guidelines that are

 8   applicable in this case, although they have agreed that an

 9   appropriate disposition of this case is a sentence between 420- and

10   480-months’ imprisonment followed by the maximum five-year term of

11   supervision.    In July 2024, the United States Probation and Pretrial

12   Services Office (“Probation”) issued the PSR in which it calculated

13   the Guidelines as follows, before factoring in the mandatory minimum

14   sentences for discharging a firearm during crimes of violence:

15         Base Offense Level:                 33      U.S.S.G. §§ 2H1.1(a)(1),
                                                                    2A2.1(a)(1)
16         Extent of Bodily Injury:            +4           U.S.S.G. § 2A2.1(b)

17         Hate Crime Motivation:              +3            U.S.S.G. § 3A1.1(a)

18         Grouping:                           +2            U.S.S.G. § 3D1.4(a)

19         Acceptance of Responsibility:       -3                U.S.S.G. § 3E1.1

20         Total Offense Level:                39

21         Guidelines (before § 924(c)         CH I                262-327 months
           counts):
22
     (PSR at 4; see also PSR ¶¶ 33-71.)
23
          The government agrees with these calculations.          The base offense
24
     level for each of the hate crime counts is 33 because in both
25
     instances, defendant engaged in an attempted premeditated killing.
26
     (U.S.S.G. §§ 2H1.1(a)(1), 2A2.1(a)(1); PSR ¶¶ 33-38, 50-52.)
27
     Specifically, defendant illegally acquired two firearms in the weeks
28
     leading up to the attempted murders. (Id. at ¶ 23.)            Three days
                                        16
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 1   before the attempted murders, he sent a message on Discord announcing

 2   it was “time to kill all jews.”       (Seiden Decl., Ex. 10.)      The morning

 3   of the first shooting, defendant used the internet to research

 4   locations with a “kosher market.”       (Plea Agreement ¶ 16; PSR ¶¶ 10,

 5   38, 42.)   Defendant has admitted that he planned the shootings and

 6   that he shot with intent to kill.       (Id.)

 7        Under U.S.S.G. § 2A2.1(b), the offense level is increased by 4

 8   levels because at least one victim sustained “permanent or life-

 9   threatening bodily injury.”      (PSR ¶¶ 40, 54.)     Under the Guidelines,

10   “permanent or life-threatening bodily injury” means injury involving

11   a substantial risk of death; loss or substantial impairment of the

12   function of a bodily member, organ, or mental faculty that is likely

13   to be permanent; or an obvious disfigurement that is likely to be

14   permanent.    U.S.S.G. § 1B1.1, cmt. 1(K).       The Ninth Circuit has found

15   that the circumstances of the crime can make injuries “life-

16   threatening,” particularly where the defendant put the victim in a

17   “life-threatening situation” in which the victim may have died absent

18   intervention.    See United States v. Morgan, 238 F.3d 1180, 1188 (9th

19   Cir. 2001) (holding district court erred by finding that “life-

20   threatening” enhancement could not apply where “circumstances

21   themselves are life-threatening, irrespective of any other injury

22   that the victim may have suffered” and remanding for express

23   determination of whether victim’s maltreatment, which involved being

24   locked in a car trunk in freezing weather for hours without fresh

25   air, food, water, medical care, or heat, was life-threatening).3

26

27        3 See also United States v. Butler, 20 Fed. Appx. 725, 728 (9th
     Cir. 2001) (affirming application of enhancement for “life-
28   threatening” injuries where victim was shot and hit in the head,
                                             (footnote cont’d on next page)
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 1        Here, defendant fired at both victims multiple times at close

 2   range, striking Victim 1 in the back and Victim 2 in the arm, and

 3   then immediately fled, leaving them bleeding from gunshot wounds.

 4   (PSR ¶¶ 40, 54.)     Because defendant’s conduct placed both victims in

 5   a “life-threatening situation,” a four-level enhancement applies

 6   under U.S.S.G. § 2A2.1(b).

 7        A three-level enhancement applies under U.S.S.G. § 3A1.1(a)

 8   because the evidence established, and defendant has admitted, that he

 9   intentionally selected his victims “because of” their actual or

10   perceived race or religion.      (PSR ¶¶ 41-42, 55-56.)      In his plea

11   agreement, defendant admitted that he shot Victim 1 because he

12   “believed [Victim 1] to be Jewish and decided to shoot him because he

13   was Jewish.”    (Plea Agreement ¶ 16.)      He made a similar admission

14   about Victim 2.    (Id.)

15        Although defendant has no criminal history points, the
16   application of the hate-crime enhancement means that defendant is not
17   entitled to any deduction for being a zero-point offender.            (PSR
18   ¶ 69.)   He is, however, entitled to a three-point deduction for
19   pleading guilty and timely accepting responsibility in this case.

20   (Id. ¶¶ 67-68.)    After applying an additional two levels for the

21   presence of multiple counts that do not group (id. ¶¶ 62-64),

22

23   causing blood loss and colon damage, left alone next to a canal
     bleeding profusely, and had to drag himself to safety, even though
24   injuries were “later repaired,” because “a victim’s injury can be
     life-threatening if he or she is placed in a life-threatening
25   situation, even if he or she does not suffer from life-threatening
     injuries”); United States v. Hinton, 31 F.3d 817, 826 (9th Cir. 1994)
26   (evidence was sufficient to find defendant inflicted life-threatening
     injury to victim he stabbed in the hand, who was released from the
27   hospital the same day, because defendant’s “contemporaneous threat to
     kill [her],” “forceful blows,” her “profuse blood loss,” and his
28   refusal to let her go to the hospital “endangered the victim’s
     life”).
                                        18
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 1   defendant’s total offense level is 39 and his Guidelines sentencing

 2   range is 262 to 327 months before consideration of the gun offenses.

 3         Under U.S.S.G. § 2K2.4(b), the Guidelines sentence for a

 4   conviction under 18 U.S.C. § 924(c) is the minimum term of

 5   imprisonment required by statute, which is not affected by

 6   adjustments or departures under Chapter 3 (e.g., reductions for

 7   acceptance of responsibility).       Thus, defendant’s Guidelines sentence

 8   for the firearm counts is 240 months, which runs consecutive to his

 9   sentence on the hate crime counts, for a total Guidelines sentence of

10   502-567 months’ imprisonment, or 41.8-47.2 years.

11         B.    Probation’s Recommendation

12         Defendant pled guilty pursuant to Rule 11(c)(1)(C), which

13   requires the Court, after accepting the terms of the plea, to

14   sentence defendant to between 35- and 40-years’ imprisonment for his

15   crimes.    Probation has recommended a sentence of 37.5 years, which is

16   at the mid-point of this range.       (Letter at 1.)     While recognizing

17   the heinousness of defendant’s crimes, Probation pointed to

18   defendant’s long history of mental illness as mitigating in favor of

19   a 37.5-year sentence.     (Id. at 4.)

20   IV.   A 40-YEAR SENTENCE IS NECESSARY TO ACCOMPLISH THE PURPOSES OF 18
           U.S.C. § 3553(A)
21

22         Consistent with its obligations in the plea agreement, the
23   government recommends a 40-year sentence in this case.           (Plea
24   Agreement ¶ 18.)     A 40-year sentence appropriately balances the
25   mitigating and aggravating factors regarding the nature and
26   circumstances of the offenses, defendant’s history and
27   characteristics, the need for specific and general deterrence, and
28

                                             19
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 1   the need to protect the public from defendant’s future crimes.            18

 2   U.S.C. § 3553(a).

 3        A.    The Nature and Circumstances of the Offenses

 4        The nature and circumstances of defendant’s crimes warrant a 40-

 5   year sentence.    Motivated exclusively by his perception of the

 6   religious and racial identities of his victims, defendant attempted

 7   to murder two strangers on consecutive days.         Far from acting on

 8   impulse, defendant’s conduct was cold-blooded and premeditated: after

 9   spewing antisemitic hatred and threats for years, defendant decided

10   it was “time to kill all Jews,” and then took several carefully

11   planned steps to carry out his murderous plan.          Defendant traveled to

12   another state to circumvent his firearm restrictions so that he could

13   purchase assault weapons, researched where to find a high

14   concentration of Jewish people, drove around the neighborhood looking

15   for victims, and then shot at Victim 1 multiple times at close range,

16   striking him and then fleeing, leaving Victim 1 bleeding in the

17   street.

18        Apparently unsatisfied with one attack, defendant returned to

19   the same neighborhood the next day to hunt for another victim.            Once

20   again, defendant identified a person wearing a yarmulke, shot him at

21   close range simply because defendant believed he was Jewish, and left

22   him for dead.

23        Though defendant shot his victims at close range with intent to

24   kill them, and though his bullets struck them just inches from their

25   spine and chest, both victims miraculously survived.           Had defendant

26   succeeded in his plan to murder his victims, he would be eligible for

27   the death penalty and his Guidelines range would be life.           18 U.S.C.

28   ¶ 924(j)(1); U.S.S.G. § 2A1.1 (First Degree Murder).           That is how

                                             20
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 1   long his victims will live with the impact of his conduct.            As one

 2   victim wrote in describing his prolonged trauma:

 3           In the days that followed, especially at night, I kept reliving
             the scene over and over again. It lasted for several months –
 4           traumatized by replaying every second, every movement of the
             approaching car, the person staring at me, while the vehicle was
 5
             about 2 meters away from me. I was wearing my yarmulke, and I
 6           kept asking myself: Why did I move at that moment? Why did I
             react like that? These questions remained unanswered, except
 7           perhaps, certainly even, “there was an angel with me at that
             moment” . . .[e]ven today, I still have visions or rather fears
 8           when I am on the street, crossing a street, or when a vehicle
             slows down in front of or near me.
 9

10   (Seiden Decl., Ex. 13.)

11           Had defendant not been caught the night of his second shooting,
12   his campaign of terror would likely have continued.          Defendant had
13   already made clear his desire to “kill all Jews,” he had researched
14   mass shootings, and at the time of his arrest, in his own words, he
15   was “practicing” with an illegal assault weapon.
16           Thankfully, due to the swift action of law enforcement,
17   defendant was captured before he could commit additional attacks.
18   But defendant had already victimized more than the two people he
19   shot.    He committed the shootings on consecutive days in the same
20   predominantly Jewish neighborhood.        Both times he targeted victims
21   leaving religious services, and both times he disappeared immediately
22   afterwards.    For those two days, he terrorized an entire community,
23   with neighbors wondering when the gunman would return and whether
24   they too would be shot if they left their homes, simply because they
25   were Jewish.    Even after defendant was apprehended, members of the
26   community continued to feel the lasting impact of his horrific
27   crimes.    (See, e.g., https://beverlypress.com/2023/02/pico-robertson-
28   shootings-shock-community/, last accessed July 11, 2024 (“We can’t
                                             21
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 1   feel safe in our own neighborhoods.          That is terrifying, chilling to

 2   the bone.”))

 3        B.    Defendant’s History and Characteristics

 4        Defendant obsessed over his antisemitic hatred for years.            What

 5   began as hateful speech as early as 2018 eventually escalated into

 6   threats to kill Jewish classmates, and, ultimately, to the attempted

 7   murders in this case.

 8        Defendant posted antisemitic

 9   messages and images under the Instagram

10   and Twitter handles “@k1llalljews.”          He

11   threatened his classmates via direct

12   text messages, like those shown here.

13   He distributed posters and sent emails

14   blaming COVID on the “Jewish agenda.”

15   He emailed dozens of his former

16   classmates excerpts from a website

17   describing “Persian Jews” as

18   “primitive,” “narrow minded,” and having

19   “thick skulls.”    Defendant’s fixed,

20   long-held, and obsessive hatred toward

21   Jews led directly to the crimes in this

22   case and demonstrates the ongoing danger

23   he poses to the community.

24        Indeed, for nearly five years, defendant repeatedly rejected

25   mental health treatment, despite describing himself as a “ticking

26   time bomb.”    When he was first treated in April 2018, he viewed

27   himself as the victim of conspiracy theories promulgated by his

28   Jewish classmates.     In 2018, after taking a leave of absence from

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 1   dental school, he was advised not to contact the other students, yet

 2   he continued to do so.      In August 2019, he was once again assessed to

 3   be a danger to himself and others, but he refused compliance with

 4   medication and continued to blame others for lying about him.            He

 5   declined to continue treatment at the end of 2019.          As recently as

 6   late 2022, defendant lashed out at his mother when she encouraged him

 7   to take his medication.

 8        In addition to refusing to comply with mental health treatment,

 9   defendant has also refused to comply with the law.          Defendant was

10   banned from possessing firearms for life in May 2018 and again in

11   August 2019.    He repeatedly violated these bans.        In 2022, defendant

12   was arrested on campus with a firearm he had deliberately obtained

13   out-of-state, intending to “hurt some animals.”          Later that year, he

14   was arrested across the country for a hit and run.          And just months

15   after that, defendant drove to Arizona to buy the guns he used in the

16   shootings, again deliberately circumventing his firearm prohibition.

17   Coupled with his refusal to treat his mental health, defendant’s

18   refusal to comply with the law has had devastating consequences.

19        Given defendant’s history of obsessive, antisemitic hatred,

20   harassing and threatening Jews, refusing mental health treatment, and

21   violating firearm prohibitions, defendant’s total history and

22   characteristics strongly weigh in favor of the government’s

23   recommended 40-year sentence.

24        C.    The Need for Deterrence, to Protect the Public, and to

25              Provide Just Punishment for the Offense

26        A 40-year sentence is necessary both to deter this specific

27   defendant from ever committing such heinous crimes again and to make

28   clear to others who share his views that hate crimes will not be

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 1   tolerated.    Antisemitism and hate crimes are on the rise.         According

 2   to the Anti-Defamation League (“ADL”), which has tracked such

 3   incidents over many decades, in 2023 there were 8,873 antisemitic

 4   incidents across the United States.4        That number represented a 140%

 5   increase over 2022 and was the highest number on record.           Incidents

 6   increased in all major categories, including assaults and harassment,

 7   and in all major location categories, including K-12 schools.            A

 8   significant sentence will deter not only this defendant, but also

 9   other would-be attackers from carrying out ideologically fueled

10   violence.    A 40-year sentence will make clear that hate crimes will

11   not be tolerated.

12        A 40-year sentence will also provide just punishment for the

13   offenses, which terrorized a community and nearly took the lives of

14   two innocent victims whom defendant targeted for no reason other than

15   their religious faith.      These victims will forever have to live with

16   the emotional and physical consequences of defendant’s actions.

17        Finally, a 40-year sentence is necessary to protect the public.

18   Defendant has demonstrated over several years his deep-seated hatred

19   of Jews and his determination to kill.        While his mental health

20   diagnoses may provide some context for his thought processes, they do

21   not make him any less dangerous.       The Court should impose a 40-year

22   sentence to prevent him from again terrorizing and victimizing the

23   community.

24

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28        4 (See https://www.adl.org/resources/report/audit-antisemitic-
     incidents-2023, last accessed July 21, 2024.)
                                        24
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 1   V.    A FIVE-YEAR TERM OF SUPERVISED RELEASE IS WARRANTED

 2         The government agrees with Probation’s recommendation that

 3   defendant be sentenced to the maximum possible term of supervised

 4   release, which is five years.

 5   VI.   THE GOVERNMENT REQUESTS THAT THE COURT SET A RESTITUTION HEARING

 6         As part of his plea agreement, defendant agreed to pay

 7   restitution to the victims of the offense.         Restitution is mandatory

 8   in this case.    (See 18 U.S.C. § 3663A; PSR ¶ 155.)        At present, the

 9   government is still ascertaining the amount of restitution owed to

10   the victims of defendant’s crimes and, therefore, respectfully

11   requests that a restitution hearing be set for 90 days following

12   sentencing.    18 U.S.C. § 3664(d)(5).

13   VII. CONCLUSION

14         For the foregoing reasons, the government respectfully requests

15   that this Court sentence defendant to 40 years’ imprisonment, to be

16   followed by five years of supervised release, including the special

17   conditions agreed to by the parties, and that it set a restitution

18   hearing for 90 days following sentencing.

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